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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION

 UNITED STATES OF AMERICA

 v.                                       Case No. 3:20-cr-86-TJC-JBT

 JORGE PEREZ, et al.


                   UNITED STATES’ NOTICE OF INTENTION
                     TO RETRY ALL COUNTS ON WHICH
                    THE JURY DID NOT REACH A VERDICT

       On June 27, 2022, after publishing the verdict forms, the Court provided the

 Government the requested twenty-one days to advise the Court and counsel as to its

 intention to retry the remaining counts in this case. At the present time, the

 Government intends to retry all counts as to all eight defendants on which the jury

 did not reach a verdict. The Government notes that even with the Rule 29 briefing

 schedule set, it would be appropriate for the Court to hold a telephone status

 conference to address an appropriate trial calendar for the retrial.
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                                      Respectfully submitted,

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                                      LORINDA I. LARYEA
                                      ACTING CHIEF
                                      U.S. DEPARTMENT OF JUSTICE
                                      CRIMINAL DIVISION, FRAUD SECTION


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                           CERTIFICATE OF SERVICE

       I hereby certify that, on July 18, 2022, a true and correct copy of the foregoing

 was filed and served on all counsel via the CM/ECF system.


                                                 /s/ Tysen Duva
                                                 TYSEN DUVA
                                                 Assistant United States Attorney




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